Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 1 of 16 PageID #: 4247
                                                                                                  FILED 
                                                                                                  CLERK 
                                                                                                      
                                                                                      11:40 am, Apr 16, 2019
                                                                                                      
  UNITED STATES DISTRICT COURT                                                            U.S. DISTRICT COURT 
  EASTERN DISTRICT OF NEW YORK                                                       EASTERN DISTRICT OF NEW YORK 
  ---------------------------------------------------------X                              LONG ISLAND OFFICE 
  HILDEE REITER,
                                                                   MEMORANDUM & ORDER
                                     Plaintiff,
          -against-                                                14 CV 3712 (SJF) (GRB)

  MAXI-AIDS, INC. and ELLIOT ZARETSKY,
  in his individual and professional capacities,

                                      Defendants.
  ---------------------------------------------------------X
  FEUERSTEIN, District Judge:

          Barry Reiter (“Reiter”) 1 commenced this action against his former employer, defendant

  Maxi-Aids, Inc. (“Maxi-Aids”) and its principal, defendant Elliot Zaretsky (“Zaretsky”). The

  case was re-assigned to this Court on April 5, 2018, at which time the trial had already been

  conducted, a post-trial motion decided, and judgment entered.

          In brief, a trial was held before Judge Leonard D. Wexler and the following claims were

  submitted to the jury: discrimination under the Americans with Disabilities Act (“ADA”),

  42 U.S.C. § 12101 et seq.; discrimination under New York State Human Rights Law

  (“NYSHRL”), N.Y. EXEC. L. § 290 et seq.; associational discrimination under the ADA; and

  retaliation under the ADA, NYSHRL, and the Family and Medical Leave Act (“FMLA”),

  29 U.S.C. § 2601 et seq. Defendants’ counterclaims for breach of duty and breach of loyalty

  under New York state law were not submitted to the jury. The jury returned a verdict in Reiter’s

  favor as to the ADA associational disability and NYSHRL discrimination claims only, finding in

  favor of Defendants on the remaining claims. It awarded compensatory damages in the amount

  of $0, and punitive damages in the amount of $400,000.



  1
    Reiter passed away in December 2018 and his wife, Hildee Reiter, was substituted as plaintiff pursuant
  to Rule 25 of the Federal Rules of Civil Procedure.
Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 2 of 16 PageID #: 4248



         Defendants’ post-trial motion for relief under Rules 50(b) and 59 of the Federal Rules of

  Civil Procedure was granted to the limited extent that the statutory cap on punitive damages was

  imposed, resulting in a reduction of that award to $50,000. See Memorandum & Order (“M&O),

  Docket Entry (“DE”) [111]; Reiter v. Maxi-Aids, 2018 WL 557864 (E.D.N.Y. Jan. 19, 2018).

  Judgment was entered on February 2, 2018. See Judgment, DE [113].

         Now pending before the Court are two additional post-trial motions. Defendants have

  moved for a modification of the Judgment, see Motion, DE [125], and Plaintiff has moved for an

  award of attorneys’ fees. See Motion, DE [131]. Both motions are granted to the extent

  indicated below.

  I. MODIFICATION OF THE JUDGMENT

         Following disposition of the post-trial motion, Judge Wexler directed Reiter to file a

  proposed judgment consistent with the M&O. The proposed judgment stated, in pertinent part,

  that judgment was entered against Maxi-Aids and Zaretsky, jointly and severally, “in the amount

  of $50,000.00 in punitive damages, $6,626.84 for economic damages, plus pre-judgment interest

  of $ ______ running to the date of entry of this order, as well as post-judgment interest. . . from

  the date of entry of this order to the date of payment.” The proposed judgment was entered by

  Judge Wexler. Defendants argue that the Judgment does not accurately reflect the jury verdict

  and the rulings stated in the M&O and thus should be amended. Specifically, Defendants argue

  that the judgment is in error because (1) punitive damages were awarded against Maxi-Aids only

  and not Zaretsky; and (2) the language in the judgment awarding pre-judgment interest suggests

  that such interest is applied to both the punitive damages award and the economic damages

  award where it should only apply to the latter.




                                                       2
Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 3 of 16 PageID #: 4249



         Plaintiff does not oppose amendment of the judgment to the extent of entering judgment

  for the punitive damages award against Maxi-Aids only. An amended judgment will reflect this

  correction.

         As to pre-judgment interest, Plaintiff suggests that Judge Wexler had impliedly exercised

  his discretion to award pre-judgment interest on both awards simply by adopting the Order and

  leaving a blank for a pre-judgment interest amount. The prior rulings in the case suggest

  otherwise. In the M&O, Judge Wexler reduced the punitive damages award to $50,000 without

  reference to pre-judgment interest, and within that same order, denied Plaintiff’s request to allow

  the running of post-judgment interest on this award commencing on the date of the jury verdict

  rather than the date of judgment. If he had intended to make a discretionary award of pre-

  judgment interest on the punitive damages amount, he clearly would have done so. Moreover,

  this Court has independently reviewed the proceedings here and has determined that a

  discretionary award of pre-judgment interest is not warranted on this record.

         The insertion of a comma in that part of the judgment ordering recovery of “economic

  damages “of $6,626.87, plus pre-judgment interest of $______. . .” contributes to the confusion.

  As the Judgment could be mistakenly construed to include an award of pre-judgment interest on

  the award of punitive damages, an Amended Judgment will be issued.

  II. APPLICATION FOR ATTORNEYS’ FEES AND COSTS

         Plaintiff seeks an award of attorneys’ fees and costs incurred during this litigation, plus

  pre-and post-judgment interest. Defendants oppose the application.

  A. Prevailing Party Fees

          “The general rule in our legal system is that each party must pay its own attorney's fees

  and expenses.” Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 550, 130 S. Ct. 1662, 176 L. Ed.



                                                       3
Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 4 of 16 PageID #: 4250



  2d 494 (2010). Under the American Rule, attorneys’ fees “are not ordinarily recoverable in the

  absence of a statute or enforceable contract providing therefor.” U.S. Fid. & Guar. Co. v.

  Braspetro Oil Servs. Co., 369 F.3d 34, 74 (2d Cir. 2004) (quoting Summit Valley Indus., Inc. v.

  United Bhd. of Carpenters & Joiners, 456 U.S. 717, 721, 102 S. Ct. 2112, 72 L. Ed. 2d 511

  (1982)); see also Oscar Gruss & Son. Inc. v. Hollander, 337 F.3d 186, 199 (2d Cir. 2003)

  (noting that “[u]nder the general rule in New York, attorneys' fees are the ordinary incidents of

  litigation and may not be awarded to the prevailing party unless authorized by agreement

  between the parties, statute, or court rule”).

         Plaintiff here seeks to recover all his attorneys’ fees, both for fees incurred in prosecuting

  his claims and in defending the counterclaims. The availability of fees is addressed separately

  for each category of claims.

         1.   Reiter’s Claims

         The ADA provides for the payment of “a reasonable attorney's fee, including litigation

  expenses, and costs” to a prevailing party. 42 U.S.C. §12205. For the purpose of awarding fees,

  a plaintiff is a prevailing party “when actual relief on the merits of his claim materially alters the

  legal relationship between the parties by modifying the defendant's behavior in a way that

  directly benefits the plaintiff.” Farrar v. Hobby, 506 U.S. 103, 111, 113 S. Ct. 566, 121 L. Ed. 2d

  494 (1992). The plaintiff “must obtain at least some relief on the merits of his claim” such as by

  an enforceable judgment. Id.; see also Ruggiero v. Krzeminski, 928 F.2d 558, 564 (2d Cir. 1991)

  (holding that a party is “prevailing” if he succeeds on any significant issue in the litigation that

  achieves some of the benefit sought, even when he achieves only partial success). Reiter clearly

  prevailed on his associational discrimination claim under the ADA and is entitled to recover




                                                        4
Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 5 of 16 PageID #: 4251



  reasonable attorneys’ fees and costs. 2 Defendants argue, however, that an award in the amount

  sought is not warranted in light of Plaintiff’s limited recovery on his claims.

          The result obtained by a plaintiff is a crucial factor in determining a reasonable attorneys’

  fee “where a plaintiff is deemed ‘prevailing' even though he succeeded on only some of his

  claims for relief.” Hensley v. Eckerhart, 461 U.S. 424, 434, 103 S. Ct. 1933, 76 L. Ed. 2d 40

  (1983). Where a plaintiff has presented “distinctly different claims for relief that are based on

  different facts and legal theories,” and has not achieved complete success, “no fee may be

  awarded for services on the unsuccessful claim.” Id., 461 U.S. at 434-35; see also Green v.

  Torres, 361 F.3d 96, 98 (2d Cir. 2004) (in determining attorneys’ fees, “the court may exclude

  any hours spent on severable unsuccessful claims”). However, where a plaintiff’s claims

  “involve a common core of facts or [are] based on related legal theories . . . and are therefore not

  severable, [a]ttorney's fees may be awarded for unsuccessful claims as well as successful ones.”

  Green, 361 F.3d at 98 (internal quotation marks and citations omitted; alterations in original); see

  also Reed v. A.W. Lawrence & Co., 95 F.3d 1170, 1183 (2d Cir. 1996) (“Where the district court

  determines that the successful and unsuccessful claims are inextricably intertwined and involve a

  common core of facts or [are] based on related legal theories, it is not an abuse of discretion for

  the court to award the entire fee.” (internal quotation marks and citation omitted)); Pinner v.

  Budget Mortg. Bankers, Ltd., 336 F. Supp. 2d 217, 222 (E.D.N.Y. 2004) (lack of success on

  sexual harassment and hostile work environment claims did not warrant fee reduction were those

  claims were “inextricably linked” to successful retaliation claim).

          Here, all of Reiter’s claims arose from incidents occurring during his two (2) years of


  2
    While Reiter also prevailed on his disability discrimination claim under the NYSHRL, that statute does
  not provide for an award of attorneys’ fees except in cases alleging housing discrimination. See Lightfoot
  v. Union Carbide Corp., 110 F.3d 898, 914 (2d Cir. 1997); Tse v. New York Univ., No. 10-CV-7207, 2016
  WL 10907062, at *31 n.12 (S.D.N.Y. Aug. 29, 2016).
                                                          5
Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 6 of 16 PageID #: 4252



  employment at Maxi-Aids. The claims on which he was unsuccessful – discrimination under the

  ADA, and retaliation under the ADA, NYSHRL, and FMLA – all arose from intertwined facts

  and required similar factual predicates. As the unsuccessful claims asserted related legal

  theories and were based on a core of facts common to all claims, they are not severable from

  Plaintiff’s successful claims. Accordingly, the hours expended pertaining to the unsuccessful

  claims will not be excluded or reduced.

         2. Defendants’ Counterclaims

         Plaintiff also seeks to recover attorneys’ fees expended in the defense of the two

  counterclaims interposed by defendants. Plaintiff has failed to support his claim for fees related

  to his defense against those claims. He has not argued, much less established, that he has a

  statutory or contractual right to recover attorneys’ fees as to either of these claims. Absent a

  statutory or contractual basis for recovery of attorneys’ fees, the American Rule applies. The

  following entries pertain to plaintiff’s defense of the counterclaims:

             •   39 entries for 88.7 hours billed regarding Plaintiff’s first motion to dismiss the
                 counterclaim, DE [11], filed in September 2014,, totaling $23,792.50;

             •   13 entries for 16.6 hours billed regarding Plaintiff’s second motion to dismiss the
                 counterclaim, DE [32], filed in March 2015, totaling $4,910.00;

             •   22 entries for 45.9 hours billed regarding Plaintiff’s response/answer to
                 Defendants’ amended counterclaim and depositions, totaling $13,490.00;

             •   10 entries for 23.6 hours billed regarding Plaintiff’s pre-motion conference letter
                 to the Court in anticipation a motion for summary judgment as to the
                 counterclaims, totaling $6,145.00;

             •   79 entries for 230.4 hours billed regarding Plaintiff’s motion for summary
                 judgment on the counterclaims, DE [62], filed in April 2016, totaling $53,257.50.

  The time billed for defense of the counterclaims, 405.2 hours, and the related fees totaling




                                                       6
Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 7 of 16 PageID #: 4253



  $101,595.00, will be excluded from the fee award. 3

  B. Calculation of Award

          The determination of a reasonable fee lies with the Court. In the Second Circuit, “the

  lodestar–the product of a reasonable hourly rate and the reasonable number of hours required by

  the case–creates a ‘presumptively reasonable fee.'” Millea v. Metro-North R.R. Co., 658 F.3d

  154, 166 (2d Cir. 2011) (quoting Arbor Hill Concerned Citizens Neighborhood Ass’n v. Cty. of

  Albany, 522 F.3d 182, 183 (2d Cir. 2008)). In calculating the presumptively reasonable fee, the

  court looks to what a reasonable, paying client would be willing to pay, “bear[ing] in mind that a

  reasonable, paying client wishes to spend the minimum necessary to litigate the case

  effectively.” Arbor Hill, 522 F.3d at 190 . “While a court may, in exceptional circumstances,

  adjust the lodestar, it may not disregard it entirely.” Millea, 658 F.3d at 169 (citation omitted).

          1. Hourly Rate

          A reasonable hourly rate must be considered within the context of the relevant legal

  “community;” specifically, “the district where the district court sits.” Arbor Hill, 522 F.3d at

  190; see also Simmons v. New York City Transit Auth., 575 F.3d 170, 174 (2d Cir. 2009) (noting

  the presumption favoring application of the rates where the case is litigated, not where the

  attorneys are located). Accordingly, in determining a reasonable hourly rate, the court considers

  the prevailing rates of lawyers with comparable skill, experience, and reputation in the district in

  which the action was commenced and litigated. See Reiter v. MTA New York City Transit Auth.,

  457 F.3d 224, 232 (2d Cir. 2006). In fee-shifting cases in this District, fees have been awarded

  at an hourly rate of $300 to $450 for partners, $100 to $325 for associates, and $70 to $100 for

  paralegals. See Feltzin v. Ciampa Whitepoint LLC, No. 15 Civ. 2279, 2017 WL 570761, at *2


  3
   As there is no basis for recovery of these fees, analysis of the reasonableness of the charges is
  unnecessary.
                                                            7
Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 8 of 16 PageID #: 4254



  (E.D.N.Y. Feb. 13, 2017) (collecting cases); see also Douyon v. N.Y. Med. Health Care, P.C., 49

  F. Supp. 3d 328, 352 (E.D.N.Y. 2014) (noting awards of $200 to $300 per hour for senior

  associates and $100 to $200 per hour for junior associates).

         Plaintiff seeks to recover feses for twelve (12) billing professionals – a partner, Lawrence

  M. Pearson (“Pearson”); four (4) associates, Tanvir H. Rahman (“Rahman”), Kenneth D.

  Sommer (“Sommer”), James C. Underwood, III (“Underwood”), and Brian A. Bodansky

  (“Bodansky”); and seven (7) paralegals. The credentials and experience of the professionals is

  set forth in Pearson’s declaration submitted in support of this motion. Declaration of Lawrence

  M. Pearson, DE [133]. The requested rates for work performed are $425 per hour for Pearson,

  $325 per hour for senior associate Rahman, $200 per hour for junior associates Sommer,

  Underwood, and Bodansky, and $100 per hour for the paralegals. Defendants have not

  challenged the hourly rate charged by any of the billing professionals. Upon review of the

  qualifications of the billing professionals, the Court finds that the rates sought fall within the

  recognized or reasonable rates in this District.

         2. Work Performed

         The party seeking reimbursement of attorney’s fees bears the burden of proving the

  reasonableness and the necessity of the hours spent and rates charged. See N.Y. State Ass’n for

  Retarded Children, Inc. v. Carey, 711 F.2d 1136 (2d Cir. 1983). A fee application must be

  supported by contemporaneous time records that describe with specificity, by attorney, the nature

  of the work done, the hours expended, and the dates on which the work was performed. Cruz v.

  Local Union No. 3 of the IBEW, 34 F.3d 1148, 1160-1161 (2d Cir. 1994). “The time records

  submitted in support of an application for attorney's fees must be sufficiently detailed to

  determine the reasonableness of the hours claimed for any given task.” Parrish v. Sollecito, 280



                                                        8
Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 9 of 16 PageID #: 4255



  F. Supp. 2d 145, 171 (S.D.N.Y. 2003). “Where the documentation of hours is inadequate, the

  district court may reduce the award accordingly.” Hensley, 461 U.S. at 433. The quality of the

  billing records may impact a fee award since vague or incomplete billing entries may hinder a

  court’s ability to review hours.

         Plaintiff has provided two copies of time records in support of the motion. One set

  covers billings from April 11, 2014 through May 18, 2018 and seeks fees totaling $511,507.50.

  The description of work performed is completely blocked out, however, and thus cannot be used

  to support the application. The other submission covers billings from April 11, 2014 through

  March 12, 2018 and seeks fees totaling $500,565.00. The descriptions in this document are

  unredacted and therefore may be considered in support of the application. Upon exclusion of the

  time expended to defend the counterclaims, Plaintiff seeks fees for 1498.5 hours worked totaling

  $385,445.00, plus 39 hours of travel time for a fee of $13,525.00.

                 a.   Travel Time

         Plaintiff seeks recovery of 39 hours of travel time costs at the full hourly rate for a total

  of $13,525.00. “Courts in this Circuit regularly reduce attorneys' fees by 50 percent for travel

  time.” LV v. New York City Dep’t of Educ., 700 F. Supp. 2d 510, 526 (S.D.N.Y. 2010); see also

  Tjartjalis v. Prof’l Claims Bureau, No. CV 14-1412, 2016 WL 4223493, at *3 (E.D.N.Y. Aug. 9,

  2016) (“travel time is customarily recoverable at one-half counsel's reasonable hourly rate.”).

  The amount sought for travel time here will be reduced by one-half to $6,672.50.

                 b. Work Time

         In determining whether a reasonable number of attorney hours were expended, the court

  should “examine the hours expended by counsel and the value of the work product of the

  particular expenditures to the client's case” and “[i]f the court determines that certain claimed



                                                        9
Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 10 of 16 PageID #: 4256



   hours are excessive, redundant, or otherwise unnecessary, the court should exclude those hours

   in its calculation of the lodestar.” Gierlinger v. Gleason, 160 F.3d 858, 876 (2d Cir. 1998)

   (internal quotations and citations omitted). It is well-established that, given the impracticality of

   a line-by-line review of individual records, “a district court may exercise its discretion and use a

   percentage reduction ‘as a practical means of trimming fat from a fee application.'” McDonald ex

   rel. Prendergast v. Pension Plan of the NYSA–ILA Pension Trust Fund, 450 F.3d 91, 96 (2d Cir.

   2006) (quoting Kirsch v. Fleet St. Ltd, 148 F.3d 149, 173 (2d Cir. 1998)).

          Overstaffing of a case can lead to a reduction due to redundant or duplicative work

   performed. See, e.g., Struthers v. City of New York, No. 12 CV 242, 2013 WL 5407221, at *8-9

   (E.D.N.Y. Sept. 25, 2013) (reducing fees because the fees requested for responding to motion

   papers were “excessive”); Am. Lung Ass'n v. Reilly, 144 F.R.D. 622, 627 (E.D.N.Y. 1992)

   (finding that the “use of so many lawyers for relatively straightforward legal tasks was excessive

   and led to duplication of work,” and deducting 40% of plaintiffs' lawyer's hours). It is within the

   court’s discretion reduce the attorneys’ fees sought “where the prevailing party assigned an

   inordinate number of attorneys to litigate the action.” Houston v. Cotter, 234 F. Supp. 3d 392,

   404 (E.D.N.Y. 2017); see also Lochren v. Cty. of Suffolk, 344 F. App’x 706, 709 (2d Cir. 2009)

   (affirming across the board 25% cut “because plaintiffs overstaffed the case, resulting in the

   needless duplication of work and retention of unnecessary personnel”).

          In addition, courts routinely apply across-the-board reductions for vague entries,

   imposing “reductions as high as 40% based solely on vague billing entries.” Anderson v. Cty. of

   Suffolk, No. CV 09-1913, 2016 WL 1444594, at *6 (E.D.N.Y. Apr. 11, 2016) (collecting cases).

   Utilization of “block billing” by aggregating multiple tasks into one entry also may impact the

   Court’s ability to assess reasonableness, resulting in a percentage reduction. See Hines v. City of



                                                        10
Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 11 of 16 PageID #: 4257



   Albany, 613 F. App’x 52, 55 (2d Cir. 2015) (summary order) (noting that while block billing “is

   not per se unreasonable,” such entries may “frustrate[] meaningful review of the reasonableness

   of the claimed hours”); Bond v. Welpak Corp., No. 15-CV-2403, 2017 WL 4325819, at *8

   (E.D.N.Y. Sept. 26, 2017) (block billing “makes it difficult if not impossible for a court to

   determine the reasonableness of the time spent on each of the individual services or tasks

   provided.”(internal quotation marks and citation omitted); LV, 700 F. Supp. 2d at 525 (stating

   that since “block-billing can make it exceedingly difficult for courts to assess the reasonableness

   of the hours billed . . . courts have found it appropriate to cut hours across the board by some

   percentage” (internal quotation marks and citation omitted)).

          Upon review of the time records, a significant reduction in the number of hours billed is

   warranted. At every point in the litigation, a minimum of one partner, a senior associate, a junior

   associate, and a paralegal were actively participating in the case. More than one attorney often

   participated in telephone conferences, and documents were routinely reviewed and/or edited by

   multiple attorneys and staff. Furthermore, given the number of professionals involved with the

   case, the records are replete with “conferences” between them. See Pope v. Cty. of Albany, No.

   1:11-CV-0736, 2015 WL 5510944, at *13 (N.D.N.Y. Sept. 16, 2015) (noting that the

   “proliferation of intra-office conferences” is a symptom of overstaffing and imposing 40%

   reduction). The time to perform routine tasks was also excessive. For example, there are at least

   twelve (12) entries totaling over fourteen (14) hours for preparing HIPAA authorizations,

   including two (2) entries on the same date by different paralegals to “mail” the forms. See

   Entries of 11/4/14.   No reasonable paying client would be willing to pay for overstaffing

   resulting in duplicative work.




                                                       11
Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 12 of 16 PageID #: 4258



          A reduction is also appropriate given the vagueness of many billing entries. There are

   numerous entries for: “Review discovery” or “Review discovery requests,” see, e.g., THR Entry

   of 12/1/14, THR Entry of 2/5/15; “Review file” or “Analyze case file,” see, e.g., LMP Entry of

   5/14/15, THR Entry of 6/10/15; “Emails with opposing counsel” or “Correspondence with

   opposing counsel,” see, e.g., THR Entry of 4/30/15, LMP Entry of 1/11/16; entries that appear

   ministerial such as “Compile and save client documents,” “Save USB documents to client

   documents drive; file USB,” see, e.g., JB Entry of 11/25/14, JB Entry of 12/2/14. Without

   further explanation, it is impossible for the Court to determine whether the time spent was

   reasonable. In addition, instances of “block billing” by aggregating multiple tasks into one entry

   serve to obfuscate the time allotted to specific tasks, rendering it impossible to determine the

   reasonableness of the expenditure. See, e.g., THR Entry of 8/4/15; SEM Entry of 5/25/16; KDS

   Entry of 7/12/16.

          A reduction of 30% will serve to “trim the fat” and address the vagueness and

   redundancy of many of the billing entries. Accordingly, counsel’s fee is reduced by 30%. The

   Court awards $276,574.00 in attorneys’ fees, summarized as follows:

    Task/Subject                  Hrs Billed    Amt Sought        Reduction     Award
    Defense of counterclaims      405.2         $101,595.00       100%          -0-
    Travel time                   39            $13,525.00        50%           $6,762.50
    Prosecution of P’s Claims     1498.5        $385,445.00       30%           $269,811.50
    TOTAL FEE AWARD:                                                            $276,574.00

          3. Enhancement of the Attorneys’ Fees Award

          Plaintiff suggests that the award should be adjusted upward based on the application of

   additional factors set forth in Hensley. While enhancements may be appropriate in “rare and

   exceptional circumstances,” Perdue, 559 U.S. at 552 (internal quotations marks and citations

   omitted), generally “the lodestar figure includes most, if not all, of the relevant factors


                                                         12
Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 13 of 16 PageID #: 4259



   constituting a ‘reasonable' attorney's fee.” Id. at 553. As a result, there is a “‘strong

   presumption' that the lodestar figure is reasonable,” that may only be overcome “in those rare

   circumstances in which the lodestar does not adequately take into account a factor that may

   properly be considered in determining a reasonable fee.” Id. at 554. The burden of proving that

   an enhancement is necessary is borne by the party seeking the enhancement, and the applicant

   must produce “specific evidence that supports the award.” Id. at 553 (internal quotation marks

   and citations omitted). Here, Plaintiff has not demonstrated any factor beyond the lodestar

   calculation that rises to the level of a rare and exceptional circumstance warranting enhancement.

   Accordingly, the request for an upward adjustment is denied.

          4. -Costs
               ---

          Plaintiff seeks an award of costs in the total amount of $27,100.55. As the movant,

   plaintiff “bears the burden of demonstrating the reasonableness of each charge; failure to provide

   adequate documentation of costs incurred will limit, or even defeat, recovery.” Piedra v. Ecua

   Rest., Inc., No. 17CV3316, 2018 WL 1136039, at *20 (E.D.N.Y. Jan. 31, 2018), adopted by

   2018 WL 1135652 (E.D.N.Y. Feb. 28, 2018). Indeed, “it is incumbent upon the party seeking

   reimbursement of its costs to provide the Court adequate substantiation in the form of receipts

   and other documents not only showing such costs were incurred, but that they were paid.”

   Cabrera v. Schafer, No. CV126323, 2017 WL 9512409, at *4 (E.D.N.Y. Feb. 17, 2017), adopted

   by 2017 WL 1162183 (E.D.N.Y. Mar. 27, 2017). In the absence of adequate substantiation, a

   party is not entitled to recover costs. See Douyon, 49 F. Supp. 3d at 352 (“with this record, the

   Court has no way of confirming that these costs . . . were incurred by counsel”); Joe Hand

   Promotions, Inc. v. Elmore, No. 11-cv-3761, 2013 WL 2352855, at *12 (E.D.N.Y. May 12,

   2013) (declining to award costs due to an absence of documentation).



                                                         13
Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 14 of 16 PageID #: 4260



          In the Bill of Costs filed March 12, 2018 and attached to this application, Plaintiff sought

   costs in the amount of $11,671.01 for court reporter fees, process servers, witness travel, trial

   exhibits, transcripts, and a video deposition. Documentation was provided to support an award

   of these costs. Those costs are recoverable and properly supported and thus will be included in

   the award in the amount sought, $11,671.01.

          In addition to the costs itemized in the Bill of Costs, Plaintiff seeks costs for copies and

   color copies, medical records, overnight delivery and postage, travel costs (car rentals, mileage,

   gas, taxi service, parking, tolls, subway tolls), hotels, meal expenses, PACER fees, and Westlaw

   fees. These costs appear on a list without detailed description and without any supporting

   documentation.

          The Court accepts counsel’s records regarding routine out-of-pocket expenses such as

   copying, postage/overnight delivery, and medical records and will allow recovery of these costs.

   To the extent those costs relate to defense of the counterclaims, however, some reduction is

   warranted. As the counterclaims constituted approximately 20% of the total time billed in this

   case, the costs for copying ($5,720.77), and postage/overnight ($308.73) delivery will also be

   reduced by 20% to a total of $4,823.60. The medical records relate to Plaintiff’s claims only

   and thus the full amount of $653.28 will be included in the award.

          Plaintiff seeks reimbursement for $3,158.06 for Westlaw research. “[I]n the context of a

   fee-shifting provision, the charges for such online research may properly be included in a fee

   award.” Arbor Hill, 369 F.3d at 98. The entries are dated the first of the calendar month, which

   is likely not the date of service, and the record submitted provides no specific information as to

   who performed the research or its scope. As such, there is no way to determine what research

   was done in support of plaintiff’s direct claims as opposed to work performed as to the non-



                                                        14
Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 15 of 16 PageID #: 4261



   compensable counterclaims. Eliminating those months corresponding to the billings related to

   the motion practice on the counterclaims, the recoverable cost for Westlaw is reduced to

   $1,833.67.

          Plaintiff further requests $74.80 in PACER fees. Courts have found such costs to be

   subsumed within an attorney’s fee and not a separate cost. See, e.g., Cardoza v. Mango King

   Farmers Mkt. Corp., No. 14-CV-3314, 2015 WL 5561033, at *19 (E.D.N.Y. Sept. 1, 2015)

   (“Plaintiffs have failed to show the Court how the attorney's fees are not crafted to absorb such

   fees”), adopted by 2015 WL 5561180 (E.D.N.Y. Sept. 21, 2015). The PACER fees are not

   awarded as a cost.

          As to the remaining costs sought, Plaintiff has not provided any explanation as to why

   they were reasonable or necessary. Plaintiff does not address the numerous travel and meal

   costs, 4 and the records submitted are conclusory and of questionable accuracy. See Lucky Brand

   Dungarees, Inc. v. Ally Apparel Res., LLC, No. 05 CIV. 6757, 2009 WL 466136 at *7 (S.D.N.Y.

   Feb. 25, 2009) (denying recovery of local transportation where application “does not tell us why

   transportation was necessary, whether it was for trips to court or due to overtime or weekend

   work.”). A spot check comparing the dates of taxi service and meal expenses with the billing

   records reveals that on several occasions, the professional charging the expense did little or even

   no work on this case on the date the expense was incurred. See, e.g., JXB - 4/6/16 (no billing

   entry, charged taxi); JBM Entry of 6/23/15 (billed 0.5 hr., charged meal and taxi); KDS Entry of

   9/11/15 (billed 0.8 hr, charged meal); JBM Entry of 6/17/15 (billed 1.0 hr., charged meal). The

   Court declines to award the remaining costs.

          Accordingly, costs are awarded in the total amount of $18,981.56.


          4
            From June 12, 2014 to September 27, 2016, counsel billed meal expenses for one or more
   professionals on over eighty (80) separate dates.
                                                        15
Case 2:14-cv-03712-SJF-GRB Document 144 Filed 04/16/19 Page 16 of 16 PageID #: 4262



   III. CONCLUSION

          Plaintiff’s motion for attorneys’ fees, DE [131], is granted to the extent that fees are

   awarded in the amount of $276,574.00 and costs in the amount of $18,981.56 for a total award of

   $295,555.56. Defendants’ motion to modify the Judgment, DE [125], is also granted.

          The Clerk of the Court shall enter an Amended Judgment awarding Plaintiff: (1) punitive

   damages against Defendant Maxi-Aids, Inc. in the amount of $50,000.00; (2) economic damages

   against Defendants Maxi-Aids, Inc. and Elliot Zaretsky, jointly and severally, in the amount of

   $6,626.87 plus pre-judgment interest running to the date of judgment; and (3) attorneys’ fees and

   costs in the total amount of $295,555.56.

   SO ORDERED.


                                                          /s/
                                                         Sandra J. Feuerstein
                                                         United States District Judge

   Dated: April 16, 2019
          Central Islip, New York




                                                       16
